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 8                         UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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11                                          CASE NO. CV 21-00928-AB(AS)
      RICKEY LOUIS ALFORD, aka
12                                          ORDER ACCEPTING FINDINGS,
      Morris Day,
13                                          CONCLUSIONS AND
14                      Petitioner,         RECOMMENDATIONS OF UNITED
15          v.                              STATES MAGISTRATE JUDGE
16    KATHLEEN ALLISON, Secretary of
      the California Department of
17    Corrections and
      Rehabilitation,
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19                      Respondent.
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23         Pursuant to 28 U.S.C. section 636, the Court has reviewed the

24   First Amended Petition, all of the records herein and the attached

25   Report and Recommendation of United States Magistrate Judge to

26   which no objections were filed.          Accordingly, the Court concurs

27   with and accepts the findings and conclusions of the Magistrate

28   Judge.
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 1         IT IS ORDERED that Judgment be entered denying the Petition
 2   without prejudice.
 3

 4         IT IS FURTHER ORDERED that the Clerk serve copies of this

 5   Order, the Magistrate Judge’s Report and Recommendation and the

 6   Judgment    herein   on   counsel    for    Petitioner   and   counsel     for
 7   Respondent.
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 9         DATED: September 22, 2021

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11                                              ___________    _________ ____
                                                       ANDRÉ BIROTTE JR.
12                                               UNITED STATES DISTRICT JUDGE

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